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                                                                                           EXHIBIT A
Book                           Norfolk City School Board Policies and Regulations

Section                        G: Personnel

Title                          Regulation of Support Staff, Classified Personnel, Discipline and Dismissal

Code                           GDPD-R

Status                         Active

Adopted                        July 29, 1980

Last Revised                   June 18, 2013



GDPD-R. REGULATION OF SUPPORT STAFF, CLASSIFIED PERSONNEL, DISCIPLINE AND DISMISSAL
I.General
These rules have been developed as a guide in the proper performance of the duties of classified personnel in order to
facilitate the best possible service to the Norfolk Public Schools system and its students. These rules apply to all classified
personnel.
All supervisors and administrators charged with discipline responsibilities of classified personnel shall become familiar with
these rules and with the administrative procedures for applying them. Discipline of classified personnel who work in a
school is the administrative responsibility of the immediate supervisor and the principal. Discipline of classified personnel
who work elsewhere is the administrative responsibility of the immediate supervisor and the director of the concerned
department. The senior director of human resources and the appropriate senior coordinator in human resources have
advisory roles in discipline matters and should be consulted as needed.
When off duty, employees are expected to conduct themselves in such a manner that their actions will not adversely
reflect on Norfolk Public Schools or fellow employees and will not adversely affect their ability to assume the full
responsibility of their jobs.
It is the practice of the administrator to effect discipline as a progressive process with warnings, reprimands, and
suspensions utilized in an attempt to correct unacceptable behavior or attitude before proceedings for discharge are
initiated. Discharge proceedings are generally instituted only as a last step in a sequence of events designed to give the
employee a fair opportunity to meet requirements. However, discharge action may be enforced for serious first violations
of the rules. It must be understood that no employee has a right or guarantee to any progressive disciplinary actions as a
prerequisite to the initiation of proceedings for his/her discharge.
II.Administrative Procedures
Steps in the disciplinary process are:

     1. Warnings: For minor offenses, the employee may be given a warning. If this does not correct the situation within a
        reasonable length of time, the supervisor should then use the procedures listed below. Warnings are normally
        verbal but may be written.
     2. Reprimands: Reprimands may be verbal or written, but if given verbally, should be followed up in writing. An
        employee may be reprimanded by the supervisor, principal/director of any superior in the chain of authority in
        his/her school or department.
     3. Suspension:

     a. Without Pay—Employees shall not be suspended without pay prior to notifying the senior director of human
        resources. The decision to suspend without pay should be evaluated carefully and must be in accordance with state
        statutes. The suspension shall be in writing and must be forwarded to the employee within three working days of
        the action.
     b. With Pay—Employees can be suspended with pay when it is in the best interest of the organization. The senior
        director of human resources shall be notified prior to such action and the suspension must be in writing and
        forwarded to the employee within three working days.

     4. Plan of Action:


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     a. (Plan of action shall be initiated when it has become apparent that the employee needs specific guidance in the
        execution of his/her daily work routine. The plan shall include support mechanisms and time lines and scheduled
        progress sessions to ensure the employee has every opportunity to meet the tenets of the plan.
     b. The plan's duration can run from 30 to 90 days and should be set based on the extent of the deficiencies.

     5. Discharge:

     a. Discharge Procedure—Prior to the preparation and deliverance of any discharge paperwork, the senior director of
        human resources shall be notified and explained the circumstances surrounding the discharge recommendation.
     b. Probationary Employees—All employees newly hired, transferred to different position, rehired after termination of
        their seniority, or promoted to a new position shall be considered "probationary employees" until the completion of
        not less than fifteen (15) weeks of actual work. The discharge of any employee during this probationary period
        shall not be subject to the grievance procedure.
     c. Permanent Employees—Permanent employees may be discharged by the superintendent for any behavior, conduct,
        or cause described in these rules, provided, however, that prior to such action, the employee sought to be
        discharged shall be entitled to a review of the reasons for such action.

     6. Review:

                    Requests for review shall be made within seven (7) working days from the time the employee received
                    notification (verbal or written) of the intent to suspend or discharge. Such requests shall be made to the
                    senior director of human resources. The review shall be conducted as soon as possible following the
                    request and not later than seven (7) working days. Reviews shall be conducted by the superintendent or
                    his authorized representative.
                    In the event the superintendent denies request for discharge, and subject to the provisions of the
                    following paragraph, such employee may be reinstated and reimbursed for any back pay lost during such
                    suspension and may have any record of suspension or proceedings for discharge for this event removed
                    from his/her personnel file.
                    In the event the superintendent declines to discharge an employee, he may take such lesser disciplinary
                    action against such employee as he deems appropriate including, but not limited to, reprimand or
                    suspension without pay for such period as he considers proper.

III.Purpose of Procedures
The purpose of these procedures is to provide classified employees of Norfolk Public Schools fair opportunity to: (1)
change behavior or attitude considered by superiors to be cause for discipline, or (2) to challenge the superior's decisions
regarding discipline. In this regard then, the following administrative considerations are appropriate:
The employee must know in a timely manner when disciplinary action is being taken. Verbal or written notice should be
given as soon as possible following the violation event, and, if verbally given, followed by written notice. Such notice shall
include the action taken (warning, reprimand, suspension, or discharge recommendation), specific events considered to
be violations of the disciplinary rules, expected disciplinary action if corrections are not made (except in discharge
notices), and the employee's right to a review, including the seven (7) work day time limit and procedures for requesting
a review. Notice in the form of a plan of action is appropriate for professional and paraprofessional classified employees.
Notices should be hand-delivered or mailed to the employee with copies to the superintendent, chief operations officer,
appropriate assistant superintendent or executive director, appropriate senior coordinator in human resources, senior
coordinator of payroll (for suspensions without pay), and the employee's supervisor. Consideration should be given to
using registered mail.
It is improper, except for unusually serious violations, to suspend an employee without pay or recommend his/her
discharge without having documented at the time of each occurrence, the history of violations, warnings and reprimands
which clearly show that the employee has had fair opportunity to challenge the charges or to correct undesired behavior
or attitude.
Only the superintendent may discharge an employee. Therefore, principals or directors who seek to have an employee
discharged shall request discharge in a memorandum to the superintendent via the appropriate assistant superintendent
or executive director and the chief operations officer with a copy to the appropriate senior coordinator in human
resources. This memorandum should have sufficient information included or attached to provide the superintendent
enough information upon which to base his decision.
This regulation incorporates former Blue Book regulation 8-19.

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Approved by the Norfolk City School Board July 29, 1980.

Revised:
February 16, 1984; June 18, 2003.




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